IN THE UNITED STA'i`ES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA

SOUTHERN DIVISION
CASE NUMBER:
Lisa Cooper, )
Plaz'ntz']j‘; )
)
vs. ) COMPLAINT
) (Jury Trz`al RequestecD
)
The Smithiield Packing Company, lnc., )
Defendant. )

 

. This action is brought by a female citizen of Robeson County, North Carolina, for
declaratory relief as Well as damages Plaintiff seeks compensation from the Defendant for
maintaining a policy, practice, custom or usage of discriminating against Plaintit`f for
exercising her rights under Title VII With respect to compensation, terms, conditions,
promotions, and privileges of employment in Ways which deprive Plaintiff of equal
employment opportunities and otherwise adversely effect plaintiff’ s status as an employee

. Ju.risdiction of the Court is invoked pursuant to 28 USC § 1343 (3) and (4), 28 USC § 1331,
and 42 USC § 2000e-5(t), this being a proceeding to enforce rights and remedies secured to
Plaintiff by Title VII of the Civil Rights Act of 1964, 42 USC § 2000e et. seq. as amended
and as amended by the Civil Rights Act of 1991; and 42 USC § 1981.

. Jurisdiction is further invoked pursuant to 28 USC §§ 2201 and 2202, this being an action for
declaratory relief declaring illegal the acts of Defendant complained herein in violation of

rights secured to plaintiff by the several Civil Rights Acts and the Constitution.

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4. All conditions precedent to jurisdiction under 42 USC § 2000e-5(f)(3) have occurred or been
complied with, to wit:

‘ On or about December 21, 2011, Plaintiff timely submitted a charge of discrimination
on the basis of retaliation and sex discrimination to the Equal Employment
Opportunity Commission (EEOC). Said Charge # is 433-2012-00286.

° On or about April 19, 2013, the Department of Justice mailed the Plaintiff a notice of
right to sue letter related to Charge #: 433-2012-00286. A copy of this notice is
attached and incorporated in this complaint

5. Plaintiff, Lisa Cooper, is a female citizen of the United States and the State of North Carolina
and resides in Robeson County, North Carolina. At all times alleged herein, Plaintiff was an
employee within the meaning of 42 USC § 2000e(i).

6. The unlawful practices alleged herein were committed within the State of North Carolina;
specifically in Bladen County, North Carolina.

7. The Defendant employs more than 10,000 people throughout the nation and operates in the
production, processing and distribution of food and related products At all times alleged
herein, the Defendant Was an employer Within the meaning of 42 USC § 2000e(b) and
employed more than Hfteen (15) employees

8. Plaintiff contends that at all times alleged herein, she was qualified for the positions she held
With the Defendant. The plaintiff contends that she was subjected to disparate treatment due
to her gender and, in retaliation for participating in a protected act, in terms of the work
conditions, privileges, benefits, and work environment Plaintift’ s claims of the violations of
Title VII arise from allegations of disparate treatment, retaliation, discrimination and

wrongful discharge

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9. The Plaintiff began her employment with the Defendant in December, 1995. lmmediately
prior to her termination, the Plaintiff held the position of Supervisor.

10. The Plaintiff contends that beginning in 2007, she was repeatedly subjected to sexual
harassment by Superintendent Tornmy Lowery which mostly consisted of sexually explicit
comments The plaintiff further contends that over the years 2008, 2009 and 2010, the
harassment continued However, in 2011 the harassment worsened and included, but was not
limited to, sexually explicit statements made to her, sexual advances made toward her,
inappropriate sexual contact and making continuous physical and emotional threats to the
Plaintiff.

1 l. The Plaintiff further contends that in 2011, Lowery subjected her to disparate treatment due
to her gender, including but not limited to requiring her to work later than her coworkers,
forcing her to spend time working closely with him in the office and physically harassing her
as she would enter and/or exit the office, requiring that she do extensive menial tasks,
making significant, inappropriate inquiries regarding her personal life and inappropriater
disclosing matters about his personal life to her.

12. The Plaintiff further contends that in 2011, Lowery relentlessly pursued her for an intimate
relationship, and either explicitly or implicitly implied that her submission to his demands
was a condition of continued employment with the defendant eompany.

13. The Plaintiff further contends that in 2011, Lowery berated the Plaintiff’ s spouse to the
Plaintitf on a regular basis. Specifically, Plaintifl` contends Lowery would make derogatory
comments about Plaintift’ s spouse because Plaintitfs spouse is Caucasian and Plaintiff is

African-American.

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The Plaintiff contends that in 2011, she requested a transfer to another department to get
away from Lowery. However, she was told that there were no vacancies to facilitate the
transfer.

ln 2011, the Plaintiff contends that she also complained to Human Resources Manager, Jarnie
Pope about Lowery’s conduct. The plaintiff contends that she provided Pope with details of
the sexual harassment by Lowery against her so that Human Resources could conduct an
investigation The plaintiff also contends that she provided Human Resources with names of
witnesses who could support her allegations of sexual harassment The plaintiff further
contends that Human Resources failed to conduct an investigation and failed to contact the
witnesses she provided The plaintiff further contends that her complaints were not taken
seriously by the defendant company.

ln July, 2011, the plaintiff contends that she called Employee Assistance Program (EAP)
offered through the defendant company.

Plaintiff contends that after she complained to human resources, the harassment by Lowery
increased The Plaintiff contends that neither Pope nor the defendant company supported her
after the allegations of harassment were made regarding Lowery, and retaliated against her
by, among other things, making a concerted effort to get the Plaintiff to quit. The plaintiff
contends that her working conditions had become so intolerable that on July 19, 2011, she
Was forced to resign to escape the harassment and address her mental health.

Plaintiff contends that between 2007 and 2011, she was routinely subjected to offensive
sexual harassment, in terms of the work conditions, privileges, benefits and Work
environment The Plaintiff contends that she is a member of a protected class and was

harassed by her manager because of her gender. The Plaintiff further contends that such

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harassment was unwelcome and was sufficiently severe and pervasive to alter the conditions
of employment and to create an abusive and hostile working environment and the employer
knew or should have known of the harassment and failed to take prompt effective remedial
action. The Plaintiff further contends that Lowery engaged in sexually harassing behavior on
almost a daily basis in the presence of other employees of the defendant company.

The Plaintiff further contends that at all times during her employment with the defendant
company, the company did not have an effective sexual harassment policy.

The Plaintiff further contends that other employees, Supervisors and Human Resource
Managers were aware of the ongoing sexual harassment and other sexually inappropriate
workplace behaviors; yet they did nothing to stop them.

Based upon information and belief, the plaintiff contends that Lowery engaged in sexually
inappropriate and harassing behavior with other female employees of the defendant
company. Further, the plaintiff contends that the defendant company is aware of the previous
illegal and unethical conduct of Lowery, but failed to properly supervise him. Moreover, the
Defendant Company continued to retain defendant Lowery in spite of his known previous
illegal and unethical conduct

The Plaintiff contends that the Defendant Company knew or should have known that its
employees were unjustifiany treating female employees differently than non-female
employees Notwithstanding, the Defendant Company’s failure to act accordingly effectively
ratified and condoned the sexually harassing treatment of the Plaintiff. Specifically, the
Plaintiff contends that Lowery’s behavior was consistently disruptive and of a sexually

harassing nature.

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Plaintiff contends that as a result of Defendant Company’S sexual harassment and retaliation,
she has suffered and continues to suffer severe emotional distress, including but not limited
to, headaches chronic depression, insomnia, chrome anxiety, stress, “nervous stomach,” and
fear. The Plaintiff further contends that Lowery’s behavior caused her to be fearful in her
work environment and caused her to be demeaned and disregarded The Plaintiff further
contends that she has sought treatment by a therapist and/or medical doctor for the
aforementioned conditions as a result of Lowery’s retaliatory and sexually harassing
behavior, and her subsequent separation of employment The Plaintiff contends that her
medical doctor and therapist diagnosed her as suffering from severe emotional distress as a
result of the aforementioned behavior and prescribed medication to treat her condition

All supervisors and employees were, at all times herein, working within the course and scope
of their employment and in furtherance of the employers business The plaintiff contends that
at all times herein, the defendant company had the power, authority and responsibility to
control Lowery’s and other employees’ conduct within the workplace; however it failed to do
so. l"urther, pursuant to the doctrine of respondeat superior, the Defendant Company is
vicariously liable for acts herein alleged against those employees Alternatively, the acts of
the aforementioned employees may not have been within the scope of their employment
Plaintiff alleges that the employer remains liable for its negligent retention of those
employees

The Plaintiff contends that the Defendant Company, by and through its agents, specifically
Lowery, negligently engaged in conduct and it was reasonably foreseeable that such conduct

Would cause her to suffer emotional distress

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26. The Plaintiff further contends that the Defendant Company, by and through its agents,
specifically Lowery, acted with reckless indifference to her constitutional and statutory ri ght
to work in an environment free from sexual harassment Further, the Defendant Company,
by and through its agents, engaged in reckless conduct and it was reasonably foreseeable that
such conduct would cause her to suffer severe emotional distress

27. The Plaintiff contends that Defendant Company, by and through its agents, specifically
Lowery, engaged in willii.ll and wanton conduct which was atrocious and utterly intolerable
Further, that the Defendants’ conduct was extreme and outrageous, exceeding all bounds of
decency. Further, that the Defenda.uts’ conduct was intended to cause the Plaintiff to suffer
severe emotional distress and, in fact, did cause the Plaintiff to suffer severe emotional
distress as set out herein. The Plaintiff further contends that Lowery’s sexually harassing
conduct as set out herein is the conduct which she contends was willful, wanton, intolerable,

extreme, outrageous and exceeding all bounds of decency.

COUNT ONE
The Defendant is liable to the Plaintiff for retaliating against her in violation of Title VII for
opposing practices made unlawful pursuant to Title VII of the Civil Rights Act of 1964, and as
amended in 1991 .

COUNT TWO
The Defendant is liable to the Plaintiff for wrongful termination due to gender discrimination and
for subjecting her to sexual harassment, including a Hostile Work Environment, and for disparate
treatment in the terms and conditions of her employment in violation of NCGS § 143 -422.2 and

Title VII.

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COUNT THREE
The Defendant is liable to the Plaintiff for the Negligent lnfliction of Emotional Distress.
COUNT FOUR
The Defendant is liable to the Plaintiff for the Intentional infliction of Ernotional Distress.
COUNT FIVE
The Defendant Company is liable to the Plaintiff for the Negligent Supervision and Retention of
Superintendent Tonuny Lowery.
WHEREFORE, plaintiff prays the Court that it:
l. Enter a declaratory judgment that the practices complained of herein are unlawiiil and in
violation of plaintiffs rights;
2. Permanently enjoin the defendant from engaging in said unlawliil practices, policies, customs,
and usages set forth herein and from continuing any and all other practices shown to be in
violation of applicable law;
3. Award plaintiff compensatory damages for pecuniary losses, emotional pain, and mental
anguish, together with attorney’s fees and the costs and disbursements of this action;
4. Award plaintiff punitive damages;
5. Award plaintiff backpay with prejudgment interest, and affirmative relief necessary to
eradicate the effects of the unlawful employment practices;
6. Grant plaintiff a jury trial on all issues of fact, and;

7. Grant such other relief as may be just and proper.

rhis the 11th day ofJuiy, 2013.

GRAY NEWELL, LLP.

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BY:

/s/ Angela Gray
Angela Newell Gray

7 Corporate Center Court, Suite B
Greensboro, NC 27408

Telephone: (336) 724-0330
Facsimile: (336) 458-9359

Email: angela@graynewell.com
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